

People v Zimmerman (2024 NY Slip Op 05292)





People v Zimmerman


2024 NY Slip Op 05292


Decided on October 24, 2024


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 24, 2024

Before: Kern, J.P., Moulton, Scarpulla, Rodriguez, Michael, JJ. 


Ind No. 3301/84 4293/84 Appeal No. 2891 Case No. 2019-2561 

[*1]The People of the State of New York, Respondent,
vHarvey Zimmerman, Defendant-Appellant. 


Twyla Carter, The Legal Aid Society, New York (Nancy E. Little of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Katherine A. Triffon of counsel), for respondent.



Order, Supreme Court, Bronx County (Raymond L. Bruce, J.), entered on or about January 18, 2019, which adjudicated defendant a level three sex offender pursuant to the Sex Offender Registration Act (Correction Law art 6-C), unanimously affirmed, without costs.
The court providently exercised its discretion in declining to grant a downward departure (see People v Gillotti, 23 NY3d 841 [2014]). Defendant has not shown that his response to sex offender treatment was exceptional (see People v Bonnemere, 201 AD3d 475 [1st Dept 2022]), or that his age (late 50s) and family support reduced his likelihood of reoffense (see People v Talavera, 223 AD3d 538 [1st Dept 2024], lv denied 41 NY3d 999 [2024]; People v Shaia, 221 AD3d 434 [1st Dept 2023], lv denied 41 NY3d 906 [2024]). Any mitigating factors identified by defendant, including the fact that he did not commit any sex crimes since his release from prison (see People v Harrison, 143 AD3d 470 [1st Dept 2016]), were outweighed by his extensive criminal history (see People v Galarza, 220 AD3d 449 [1st Dept 2023], lv denied 41 NY3d 903 [2024]) and the seriousness of the underlying offenses, in which he bound and raped one victim and attempted to do so to two others, including a 15-year-old child (see e.g. People v James D., 200 AD3d 618 [1st Dept 2021]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: October 24, 2024








